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                        THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:
                                                CHAPTER 7
 Matthew Aaron Welch and
 Amanda Grace Welch                             BANKRUPTCY NO. 19-01442-dd

                   Debtor(s)                    SETTLEMENT ORDER ON MOTION FOR
                                                RELIEF FROM AUTOMATIC STAY


       This matter comes before the Court on the motion for relief from the 11 U.S.C. §362

automatic stay filed by Lakeview Loan Servicing, LLC, (“Movant”). Movant has waived any

claim arising under 11 U.S.C. § 503(b) or § 507(b) and, in the event relief from the automatic

stay is granted due to a default under the terms of this settlement order, agreed that any funds

realized from the disposition of its collateral in excess of all liens, costs, and expenses will be

paid to the Trustee or bankruptcy estate. The Chapter 7 Trustee Kevin Campbell filed an

objection to the motion on April 24, 2019. The Debtors did not file an objection.

       It appears that the Movant and Trustee have agreed that the automatic stay should remain

in place in order to provide the Trustee the opportunity to sell the Debtors’ property located at 45

Burlington Circle, Beaufort, SC 29906, Beaufort, (“Property”), within a period of one hundred

and twenty (120) days from the date of this Order. The Movant and Trustee wish to incorporate

this agreement into an Order of this Court. Therefore,

       IT IS ORDERED that the motion to modify the automatic stay filed by the Movant be

denied, and that the automatic stay remain in place, in order to provide the trustee an opportunity

to sell the Property. Should the Trustee fail to sell the Property within a period of one hundred

and twenty (120) days from the date of this Order, relief from stay may be provided without

further hearing upon the filing of an affidavit of default by Movant and the entry of the proposed
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order by the Court. Movant may then proceed with its state court remedies against the collateral,

including sending any required notice to Debtors.

       IT IS SO ORDERED.


 FILED BY THE COURT
     05/08/2019




                                                    David R. Duncan
                                                    Chief US Bankruptcy Judge
                                                    District of South Carolina


   Entered: 05/09/2019




WE CONSENT:
/s/John B. Kelchner                                 /s/Suzanne Campbell Chisholm
John B. Kelchner (ID #6987)                         Suzanne Campbell Chisholm (ID# 10274)
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